Case 8:19-cv-00098-JLS-DFM Document 37 Filed 06/19/19 Page 1 of 2 Page ID #:171



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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

 Case No. SACV 19-00098-JLS (DFM)                                         Date: June 19, 2019
 Title: Mariano Benitez v. Powerline Funding, LLC
 Present: HONORABLE JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

          Terry Guerrero                                                   N/A
          Deputy Clerk                                                 Court Reporter

   Attorneys Present for Plaintiff:                            Attorneys Present for Defendant:

            Not Present                                                  Not Present

 Proceedings:           (In Chambers) SCHEDULING ORDER

         The Court has received and reviewed the parties’ Joint Rule 26(f) Report. (Doc. 34.) The
 Scheduling Conference set for hearing June 21, 2019, is VACATED, and the following schedule
 is set.

        Counsel’s attention is directed to the Court’s Civil Trial Order filed concurrently with
 this Minute Order.

         Except for the motion for class certification, counsel shall notice all hearings for the first
 available motions date at the time of the filing of the motion, and the deadlines for opposition
 and reply briefs shall be in accordance with Local Rule 7-9 and 7-10. (See
 <<http://www.cacd.uscourts.gov/honorable-josephine-l-staton>> for closed civil motions hearing
 dates; see also Local Rules 7-9 & -10 (deadlines for opposition and reply briefs).)

       The motion for class certification shall be noticed for hearing on the first available
 motions hearing date at the time of the filing of the motion, but no earlier than May 8, 2020.

        These dates and deadlines will not be continued except upon a showing of good cause,
 which generally requires unforeseeable circumstances. See Fed. R. Civ. P. 16(b)(4). Failure to
 conduct discovery diligently or a desire to engage in settlement discussions will not constitute
 good cause.

         The Court will set a trial date and an exhibit conference date at the Final Pretrial
 Conference. The parties are directed to confer before the Final Pretrial Conference and to
 identify in the Proposed Final Pretrial Conference Order mutually agreeable trial dates within the
 90 days following the Final Pretrial Conference. Where the Court’s trial calendar permits, the
 Court will set the trial for a date agreed upon by the parties.


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                          CIVIL MINUTES – GENERAL                            1
Case 8:19-cv-00098-JLS-DFM Document 37 Filed 06/19/19 Page 2 of 2 Page ID #:172



  __________________________________________________________________
                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES – GENERAL

 Case No. SACV 19-00098-JLS (DFM)                                                Date: June 19, 2019
 Title: Mariano Benitez v. Powerline Funding, LLC
 Last Day to File a Motion to Add Parties and Amend Pleadings:                        August 20, 2019

 Fact Discovery Cut-off:                                                              February 28, 2020

 Last Day to File Motion for Class Certification:                                     March 13, 2020

 Last Day to File Motions (excluding Daubert Motions
 and all other Motions in Limine):                                                    March 13, 2020

 Last Day to Serve Initial Expert Reports:                                            March 13, 2020

 Last Day to Serve Rebuttal Expert Reports:                                           April 10, 2020

 Last Day to File Opposition to Motion for Class Certification:                       April 10, 2020

 Last Day to File Reply in Support of Motion for Class Certification:                 April 24, 2020

 Last Day to Conduct Settlement Proceedings:                                          May 1, 2020

 Expert Discovery Cut-off:                                                            May 8, 2020

 Last Day to File Daubert Motions:                                                    May 15, 2020

 Last Day to File Motions in Limine (excluding Daubert motions):                      June 5, 2020

 Final Pretrial Conference (10:30 a.m.):                                              July 10, 2020

 Trial Estimate: 1                                                                    3-5 days

            IT IS SO ORDERED.
                                                                                Initials of Preparer: tg




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     This is the parties’ estimate. The Court may allot fewer days for trial.
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                          CIVIL MINUTES – GENERAL                            2
